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                                   UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

                                             EUGENE DIVISION



       ST. CHARLES HEALTH SYSTEM, INC., an                   Case No. 6:21-cv-00304-MC
       Oregon nonprofit corporation,

                     Plaintiff,                              DECLARATION OF MARK HUTCHESON
                                                             IN SUPPORT OF DAVIS WRIGHT
               v.                                            TREMAINE LLP AND MARK
                                                             HUTCHESON’S OPPOSITION TO
       OREGON FEDERATION OF NURSES AND                       MOTION FOR SANCTIONS AND
       HEALTH PROFESSIONALS, LOCAL 5017,                     RESPONSE TO ORDER TO SHOW
       AFT, AFL-CIO,                                         CAUSE

                     Defendants.


             I, Mark Hutcheson, declare as follows:

             1.     I am a partner at the law firm Davis Wright Tremaine LLP. I represented St. Charles

     Health System, Inc. (“St. Charles”) in this matter. I am over the age of 18 and make this declaration



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     based on my personal knowledge or on the basis of information that has been provided to me. If

     called to testify to any fact contained within this declaration, I would be competent to do so.

             2.     I have been admitted to practice law in the State of Washington for over 50 years.

     Most of my practice has involved labor and employment law, including but not limited to advising

     clients on issues that arise under the National Labor Relations Act. In the course of my practice, I

     have also had a great many occasions to appear before or otherwise interact with the National Labor

     Relations Board or NLRB. I was and am well aware of the broad powers and scope of jurisdiction

     of the NLRB, and I would not have participated in this matter as I did on behalf of St. Charles if I

     did not truly and sincerely believe that there was a permissible basis on which to take the positions

     that I took.

             3.     Throughout my more than 50 years in practice, I have never been disciplined or

     sanctioned by the Washington State Bar Association, by any other bar association or by any court.

     Before this case, I had not even been the subject of a sanctions motion.

             4.     Turning to the events in question, I spent much of the day and evening before the

     March 2, 2021 Temporary Restraining Order (“TRO”) hearing not only preparing witnesses for the

     evidentiary portion of the hearing but also assisting with negotiations through Defendant Oregon

     Federation of Nurses and Health Professionals, Local 5017, AFT, AFL-CIO’s (the “Union’s”)

     counsel, Samuel Lieberman. The hope, of course, was that if we were successful in resolving the

     dispute, there would be no need for a hearing. These negotiations went into the early hours of the

     morning. For example, the last email I exchanged with Mr. Lieberman was at about 2:30 am Pacific.

     Unfortunately, the parties were not successful in settling the dispute at that time.

             5.     Following the 2:30 am email to Mr. Lieberman, I slept for a few hours and then

     resumed preparations for the TRO hearing set for 9 am that morning. Given my lack of sleep, I was

     not my best for the hearing. I do not offer this information as an excuse for what frustrated the Court,

     but as part of the context of which the Court might not otherwise have been aware.


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             6.     In the roughly 24 hours that DWT had between the moment that it learned that the

     NLRB did not have the time or resources to act and the time that DWT first appeared in court on

     behalf of St Charles, we had to weigh the following:

                       a. We understood that St. Charles believed—particularly in the middle of the

                           pandemic and with little or no ability to obtain licensed replacement workers

                           as needed—that people in need of health care services that St. Charles would

                           otherwise provide could be seriously and irreparably harmed by the proposed

                           strike.

                       b. Based on my own knowledge of the NLRB case law and as a result of

                           conversations with colleagues who were working on this matter with me, we

                           were not aware of any “all fours” Supreme Court cases holding that the

                           NLRB’s exclusive jurisdiction over seeking injunctive relief vests before the

                           NLRB issues a complaint and even though the NLRB has stated that it does

                           not have sufficient time to act. To date, we have not located any such cases.

                       c. Also based on my own knowledge of the NLRB case law and that of my

                           colleagues, we understood that application of so-called Garmon preemption is

                           not absolute and that there are times when other considerations can take

                           priority.

                       d. Under this extreme and once-in-a-century pandemic situation, we believed

                           that even though a court might well decline to grant the relief we were

                           requesting on jurisdictional or other grounds, we were entitled to try to seek

                           such relief on our client’s behalf.

                       e. One way to think of this is that where, as here, the NLRB is unable to act and

                           where, as here, a serious and irreparable threat to public health is on the

                           immediate horizon, a conclusion that courts can never act—even on a


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                            temporary basis—creates a sort of legal limbo that should if at all possible be

                            avoided.

             7.     Although I did not adequately do so at the time of the hearing, I fully accept

     responsibility for what DWT and I filed with the Court. I also accept full responsibility for the fact

     that we did not initially address the jurisdictional questions that arise under Section 10(j) of the

     National Labor Relations Act, 29 U.S.C. § 160(j) or application of the Norris-LaGuardia Act, 29

     U.S.C. § 107. In the very limited period of time in which we had to put our pleadings together, we

     focused on perceived harm instead of jurisdictional issues. I wish to explain, however, that it was

     never my intention or the intention of any of my colleagues to mislead the Court or the Union about

     the existence or potential significance of these questions. We had no doubt that the Union would

     raise these issues. Moreover, the Motion for Temporary Restraining Order makes clear the broad

     powers of the NLRB to act and that our position was limited to seeking temporary relief only until

     the NLRB could act. We also explained this position further in our reply. And we never expected

     or intended that we were entitled to ex parte relief or that the Union would be denied the opportunity

     to argue and brief its position on these and other issues before the Court ruled.



             I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF

     MY KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS

     EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY.

             Dated this 19th day of May, 2021 in Cle Elum, Washington.




                                                          s/ Mark Hutcheson
                                                          MARK HUTCHESON




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